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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

  TTT Foods Holding Company LLC,
  a Florida limited liability company,
                  Plaintiff,
  v.                                                     Case No.: 9:16-cv-81798-DMM

  BEATRICE NAMM, an individual,
  JONATHAN NAMM, an individual,
  and DELUXE GOURMET
  SPECIALTIES LLC, a New Jersey
              Defendants.
  _________________________________/

               DEFENDANTS’ MOTION FOR EXTENSION OF TIME TO FILE
                RESPONSE TO MOTION FOR SUMMARY JUDGMENT AND
                         COMPLY WITH LOCAL RULE 56.1

         COME NOW the Defendants, BEATRICE NAMM, an individual, JONATHAN NAMM,

  an individual, and DELUXE GOURMET SPECIALTIES LLC, a New Jersey limited liability

  company, by and through the undersigned attorneys, and file this their Motion for Extension of

  Time to File Response to Motion for Summary Judgment and Comply with Local Rule 56.1, and

  state in support thereof as follows:

                 1.      The issues raised by Plaintiff’s Motion for Summary Judgment (DOC 74)

  and the Statement of Undisputed Facts (DOC 75) are extensive, and the materials submitted have

  been voluminous, and because of the undersigned other prior commitments, including, but not

  limited to, travel out of state, it has become necessary to request a short extension of time to file

  the response to the Motion for Summary Judgment (DOC 74) and the Statement of Undisputed

  Facts (DOC 75).

                 2.      Defendants have filed the affidavit of Defendant Beatrice Namm in


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  opposition to the Motion for Summary Judgment (DOC 74) and the Statement of Undisputed

  Facts (DOC 75), in the event the Court denies the brief extension of time.

                 3.     Defendants request an extension until Wednesday, May 3, 2017, to file the

  responses to the Motion for Summary Judgment (DOC 74) and the Statement of Undisputed

  Facts (DOC 75).

                 4.     The undersigned has not been able to contact the opposing counsel, but

  will do so tomorrow morning and advise the Court of whether or not he objects to the brief

  extension.

         WHEREFORE the Defendants request that the Court provide Defendants with a 48 hour

  extension to file their response to the Motion for Summary Judgment (DOC 74) and the

  Statement of Undisputed Facts (DOC 75).

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served by notice
  of electronic filing via CM/ECF to John E. Page, counsel for Plaintiff (jpage@sflp.law) and
  Bernice C. Lee, counsel for Plaintiff (blee@sflp.law), and to those other parties registered to
  receive such service on February 2, 2017.
                                                      /s/ Agustin R. Benitez
                                                      AGUSTIN R. BENITEZ, ESQUIRE
                                                      BENITEZ LAW GROUP, P.L.
                                                      Florida Bar # 278130
                                                      1223 East Concord Street
                                                      Orlando, Florida 32803
                                                      (407) 894-5000
                                                      (407) 896-8061 (fax)
                                                      Primary E-Mail: Service@ARBenitez.com
                                                      Secondary E-Mail: Gus@ARBenitez.com




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